
MOSK, J.
Petitioner seeks a writ of mandate to compel respondent county assessor to comply with Revenue and Taxation Code section 401. Pursuant to a 1965 agreement between the County of Sacramento and petitioner, the latter transferred to respondent the duty to assess all taxable property within its boundaries. (Gov. Code, § 51500 et seq.)
The sole issue is the constitutionality of section 401. The identical question was presented in County of Sacramento v. Hickman (1967) ante, p. 593 [59 Cal.Rptr. 609, 428 P.2d 593], this day filed. For the reasons set forth in that opinion, we hold section 401 to be valid.
The demurrer is overruled. Let a peremptory writ issue as prayed. This order is final forthwith.
Traynor, C. J., McComb, J., Peters, J., Tobriner, J., Burke, J., and Sullivan, J., concurred.
